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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


    In re 3M COMPANY          SECURITIES         Case No. 20‐CV‐2488 (NEB/KMM)
    LITIGATION
                                                    ORDER ON DEFENDANTS’
                                                      MOTION TO DISMISS



       Plaintiffs allege that 3M Company and certain of its chief executives violated

Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (“Exchange Act”) and SEC

Rule 10b‐5 by materially understating 3M’s potential legal and financial exposure related

to its historical manufacture, distribution, and disposal of PFAS.1 Defendants now move

to dismiss the operative Complaint, asserting that Plaintiffs fail to meet the heightened

pleading burden under the Private Securities Litigation Reform Act (“PSLRA”). For the

reasons below, the Court grants the motion.

                                   BACKGROUND

       I.    The Complaint Allegations

       Reduced to its essence, the Complaint alleges as follows: (1) 3M has been sued

repeatedly for damages relating to its manufacture and disposal of PFAS, which are toxic

chemicals; (2) 3M disclosed the PFAS‐related lawsuits to investors in various securities




1PFAS is an abbreviation of “per‐ and polyfluoroalkyl substances,” a class of synthetic
compounds developed by 3M. (ECF No. 44 ¶ 4.)
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filings; and (3) those disclosures—and attendant statements by 3M executives—were

inadequate to apprise investors of the potential extent of 3M’s PFAS‐related liability.

       A. PFAS

       The history of the manufacture of PFAS dates back to the 1940s. Beginning

approximately then, 3M developed “per‐ and polyfluoroalkyl substances,” or “PFAS,” a

class of synthetic chemical compounds. (ECF No. 44 (“Compl.”) ¶ 4.) These compounds

were used to manufacture a range of commercial and industrial products, including high‐

temperature fire‐fighting foam. (Id.) 3M manufactured PFAS at industrial facilities in

Cottage Grove, Minnesota, as well as chemical plants in Alabama and Illinois, and at sites

in Belgium and Germany. (Id. ¶ 81.) 3M allegedly disposed of PFAS and its waste

byproducts into public waterways and unlined dumps, leading to environmental

contamination near 3M facilities and hundreds of other sites. (Id. ¶ 40.) 3M claimed that

PFAS were safe and that they “created no risk of material environmental or other

liability” for 3M. (Id. ¶ 6.)

       3M allegedly knew, but did not disclose, that it was selling “toxic poisons” to the

public for decades. (Id. ¶ 3.) Internal 3M documents suggest that 3M had completed

studies in the 1950s indicating the toxicity of PFAS to animals and humans. (Id. ¶ 47.) In

the 1960s, 3M allegedly knew that PFAS would pollute American drinking water sources,

and an internal 3M manual and study found PFAS to be toxic. (Id. ¶¶ 41, 48.) In the 1970s,

3M knew that PFAS were toxic to fish and could impact human food sources, investigated



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its employees’ exposure to PFAS, and recommended reducing their exposure to it. (Id.

¶¶ 43, 50.)

         3M released a “trove” of scientific data to the United States Environmental

Protection Agency (“EPA”) in 1998. (Id. ¶ 58.) The next year, a 3M scientist concluded

that PFAS was “more damaging than PCB2,” and another described PFAS as “one of the

strongest cancer promoters” the scientist had ever seen. (Id. ¶ 46; Pls’ Ex.3 2 at 15.) In

September 2019, a 3M senior vice president acknowledged to Congress that 3M had

“studied the potential impacts of PFAS . . . for decades.” (Compl. ¶ 63.) Defendants

allegedly knew that PFAS created massive environmental and human health

consequences, and covered up 3M’s knowledge of the harmful effects for PFAS. (Compl.

¶¶ 57, 63.)

         In 2000, 3M announced that it would begin to phase out its PFAS production. 3M

ended its production of PFAS in 2008. (Id. ¶¶ 59–61; Defs’ Ex.4 3 at 116.)




2According to the EPA, “the data strongly suggest that PCBs [polychlorinated biphenyls]
are probable human carcinogens.” U.S. Env’t Prot. Agency, Learn about Polychlorinated
Biphenyls (PCBs), https://www.epa.gov/pcbs/learn‐about‐polychlorinated‐biphenyls‐
pcbs, (last visited, Sept. 29, 2021).

3   Plaintiffs’ Exhibits are found at ECF No. 101.

4   Defendants’ Exhibits are found at ECF No. 92.


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       B. Governmental Oversight and PFAS‐related Litigation

       In May 2016, the EPA raised standards relating to PFAS and drinking water safety,

“significantly expand[ing] the scope of the contamination problem for 3M.” (Compl.

¶¶ 68–69.) In 2017, the states of New Jersey and Minnesota set more stringent standards

for acceptable PFAS levels in their states’ drinking water. (Id. ¶ 74 (New Jersey); Pls’ Ex. 2

at 1, 21 (Minnesota).)

       At the same time, 3M and others faced multiple personal injury/toxic tort lawsuits

over PFAS. In February 2017, E.I. du Pont de Nemours & Company (“DuPont”)—a PFAS

customer of 3M—and related companies agreed to pay $671 million to settle thousands

of personal injury lawsuits relating to PFAS exposure. (Id. ¶¶ 38, 95.)

       C. Minnesota AG Litigation against 3M

       In 2010, the Minnesota Attorney General sued 3M over its manufacture and

disposal of PFAS (“AG Litigation”). The Attorney General accused 3M of deliberate

disregard of “the substantial risk of injury to the people and environment of Minnesota

from its continued manufacture of [perfluorochemicals] and its improper disposal.”

(Compl. ¶ 87); Minnesota v. 3M Co., No. 27‐CV‐10‐28862 (Minn. Dist. Ct.).

       D. 3M’s Financial Disclosures in 2017

       The lawsuit before this Court is not a toxic tort or personal injury lawsuit against

3M. Instead, it alleges securities fraud based on the way 3M disclosed the underlying

PFAS litigation. 3M’s 2016 Form 10‐K and quarterly filings for 2017 disclosed particulars



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about the PFAS litigation, including information about the AG litigation and several

lawsuits filed in Alabama and other states. (Defs’ Ex. 3 at 117–19; Defs’ Ex. 5 at 34–38;

Defs’ Ex. 6 at 39–43; Defs’ Ex. 7 at 40–45.) As the AG Litigation progressed, 3M updated

the information given to the public. Its quarterly filings disclosed that the case was set for

trial in February 2018. (Defs’ Ex. 6 at 43; Defs’ Ex. 7 at 44.) The 2016 Form 10‐K and

quarterly filings for 2017 also state that for the environmental litigation matters for which

3M did not record a liability, 3M “believes any such liability is not probable and estimable

and [3M] is not able to estimate a possible loss or range of loss at this time.” (Defs’ Ex. 3

at 119; Defs’ Ex. 5 at 38; Defs’ Ex. 6 at 43–44; Defs’ Ex. 7 at 45.)

       E. 3M’s 2017 Form 10‐K

       3M filed its 2017 Form 10‐K on February 8, 2018—just a few weeks before the AG

Litigation trial was set to begin. In describing the AG Litigation, 3M disclosed that “[i]n

September 2017, the State’s damages expert submitted a report that contends the State incurred

$5 billion in damages,” and 3M had “filed a motion for summary judgment contending . . . that

the State’s claims are barred by the applicable statute of limitations.” (Defs’ Ex. 8 at 124

(emphasis added); see Compl. ¶ 111.) The 2017 Form 10‐K noted that 3M’s motion for

summary judgment was pending, and that the court had urged the parties to resolve the

litigation before trial and had appointed a mediator. (Defs’ Ex. 8 at 124.) 3M explained

that “[i]f the parties are not able to resolve the matter, the trial is scheduled to begin in

February 2018.” (Id.) 3M also warned that an adverse ruling, judgment, or settlement



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“could result in future charges that could have a material adverse effect on [3M’s] . . .

consolidated financial position.” (Id.) Finally, 3M stated that it had recorded no liability

on its financial statements because it believed any such liability was “not probable and

estimable.” (Id.)

       F. Settlement of the AG Litigation and 3M’s Disclosure of It

       Next came a classic “courthouse steps” settlement in the AG Litigation. On

February 20, 2018—just a few weeks after 3M filed its 2017 Form 10‐K, and on the day the

trial was scheduled to begin—3M announced an $850 million settlement of the suit.

(Compl. ¶¶ 106, 109.) Under the settlement terms, 3M was to pay the State $850 million

in the form of a grant for certain environmental projects, up to $40 million more for

temporary water treatment solutions, and the State’s litigation expenses. (Id. ¶¶ 106–07;

Defs’ Ex. 9.) Along with the settlement announcement, 3M filed a Form 8‐K disclosing

that it had recorded a pre‐tax charge of $897 million. (Compl. ¶ 112; Defs’ Ex. 12 at 4.)

       Analysts’ Reaction. The next day, an analyst remarked that “the $850 million

settlement far exceeds the ~$50 million of recorded environmental liabilities on the

company’s balance sheet. . . .” (Compl. ¶ 113.) Another analyst noted that pending

litigation in other states was “likely to cue off of this case to varying degrees.” (Id.¶ 114.)

And although 3M management “maintain[ed] there is little risk in other suits,” analysts

noted that “they still bear watching, as the sheer magnitude [of the AG Litigation

settlement] is something of an outlier.” (Id.)



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       April 24, 2018 Investor Call. During an investor call on April 24, an analyst asked

Defendant Michal F. Roman—who was then 3M’s Chief Executive Officer—if the

settlement of the AG Litigation set a precedent for other states. (Compl. ¶ 119; Defs’ Ex. 10

at 5.) Roman responded, “This is a unique situation. This is our home state and something

that we’ve been working on with them for a number of years. This is a unique situation

in both the nature of the case as well as the process that we’re working through with

them.” (Defs’ Ex. 10 at 5 (ECF pagination); see Compl. ¶ 120.)

       SEC’s Inquiry. Shortly after Roman’s call with investors and a few months after the

AG Litigation settlement, the United States Securities and Exchange Commission asked

3M to explain why it had recorded no liability related to the AG Litigation in its 2017

Form 10‐K, but disclosed an $850 million settlement soon after. (Compl. ¶ 116; Defs.

Ex. 11.) The SEC asked 3M to address its use of certain accounting methods. (Defs. Ex. 11.)

       The SEC’s inquiry centered around general accepted accounting principles

(“GAAP”), and in particular, the Financial Accounting Standards Board Accounting

Standards Codification 450, Contingencies (“ASC 450”). See 17 C.F.R. § 210.4‐01(a)(1)

(financial statements not prepared in accordance with GAAP are presumed misleading

or inaccurate). To understand this background (and the parties’ arguments), a brief

primer on ASC 450 is necessary.

       ASC 450: When Accrual Is Required. Under ASC 450, a reporting entity must accrue

for a loss contingency only where an unfavorable outcome is both (1) probable and



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(2) reasonably estimable. ASC 450‐20‐25‐2. “Probable” is defined as “likely to occur.”

ASC 450‐20‐20, Glossary. Under ASC 450, the term probable “is intended to refer to at

least a 70% chance of occurrence.” (Defs’ Ann.5 D at 3.) The filing of a suit or formal

assertion of a claim does not automatically mean that accrual of a loss is appropriate. ASC

450‐20‐55‐13. Rather, the entity must assess whether an “unfavorable outcome” is

probable. Id.

         The “reasonably estimable” requirement of ASC 450 “is intended to prevent

accrual in the financial statements of amounts so uncertain as to impair the integrity of

those statements.” ASC 450‐20‐25‐4. “If some amount within a range of loss appears at

the time to be a better estimate of loss than any other amount within the range,” the entity

is to accrue that amount. ASC 450‐20‐30‐1. But if no amount within a range of loss is a

better estimate than any other amount within that range, the entity must accrue the

minimum amount within that range. Id.

         ASC 450: When Disclosure Is Required. If a loss is only “reasonably possible”—that

is, the chance of the loss occurring is “more than remote but less than likely”—then the

entity does not accrue for the contingent loss, and instead must disclose (1) “[t]he nature

of the contingency,” and (2) “[a]n estimate of the possible loss or range of loss or a

statement that such estimate cannot be made.” ASC 450‐20‐50‐4 (emphasis added); ASC

450‐20‐20, Glossary (defining “reasonably possible”). ASC 450 prefers disclosure to


5   Defendants’ Annexes are found at ECF No. 103.


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accrual “when a reasonable estimate of loss cannot be made.” ASC 450‐20‐25‐2; ASC 450‐

20‐50‐5 (same); see ASC 450‐20‐55‐13 (requiring disclosure, rather than accrual, if an

unfavorable outcome is reasonably possible but not probable, or if the amount of loss is

not reasonably estimable).

       3M’s Response to the SEC. In a written letter, 3M explained to the SEC that the AG

Litigation liability was neither probable nor reasonably estimable under ASC 450‐20‐25‐

2, and so it was not recorded in the 2017 Form 10‐K. (Defs’ Ex. 12 at 4 (ECF pagination).)

The liability was not probable because at the time 3M filed the Form 10‐K, 3M had pending

dispositive motions asserting “a substantial statute of limitations defense that, if

successful, would have completely barred the State from recovery,” as well as other

substantial legal and factual defenses supported by expert reports and scientific studies.

(Id.) The liability was not estimable because there was no reasonable basis to identify any

particular amount with a range of loss that was more likely to occur than any other. (Id.)

And “because any liability arising from this litigation was neither probable nor estimable,

or if estimable had a low end of the range of $0, [3M] concluded that no accrual for this

matter was required” for its 2017 Form 10‐K. (Compl. ¶ 117; Defs’ Ex. 12 at 4–5.) 3M

further explained to the SEC that “[b]etween December 31, 2017 and February 8, 2018”—

the date the 2017 Form 10‐K was filed—3M was proceeding along “two parallel paths”:

on the one hand, “actively preparing to try the case”; and on the other hand, participating

in mediation discussions in which the parties remained “far apart.” (Defs’ Ex. 12 at 5.)



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During that time, 3M asserted, “no event or development occurred in the litigation that

changed [3M’s] view of the case as of the balance sheet date or as of the date [3M] filed

its Form 10‐K.” (Compl. ¶ 117; Defs’ Ex. 12 at 5.) In February before the settlement, 3M

continued on these two parallel paths, simultaneously preparing for trial and discussing

settlement. The result was settlement, but the “[k]ey critical terms and amounts lending

themselves toward resolution did not come together until shortly before trial,” with the

parties agreeing on an amount and other material terms on February 20, the day the trial

was scheduled to start. (Defs’ Ex. 12 at 5.)

       Upon receiving 3M’s response, the SEC took no further action.

       Disclosure of 3M Documents. After announcing the AG Litigation settlement, the

Minnesota Attorney General posted internal 3M memoranda and other correspondence

on a website. This information “made clear that 3M was aware as far back as the 1970s

. . . that PFAS pose a serious risk to public health.” (Compl. ¶ 115.) And this information

appeared to fuel further lawsuits: later litigation brought against 3M and others alleging

PFAS contamination cite information disclosed by the Minnesota Attorney General, as

well as the EPA’s heightened regulations for PFAS levels in drinking water. (Pls’ Ex. 3

¶¶ 1, 13, 106, 118 (Oct. 2018 class action on behalf of Michigan residents whose drinking

water had been contaminated by PFAS from Wurthsmith Air Force Base); Pls’ Ex. 4 ¶¶ 12,

39, 60 (Feb. 2019 lawsuit alleging PFAS contamination in New Jersey).)




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       G. 3M’s Other Disclosures Made in 2018

       After the settlement with the Minnesota Attorney General, each of 3M’s 2018

quarterly findings continued to disclose information about other PFAS‐related litigation.

In these statements, 3M accrued amounts ranging from $54 million to $69 million for

PFAS‐related liabilities (identified as “other environmental liabilities”), and explained

that for matters for which it did not record a liability, 3M “believes any such liability is

not probable and estimable and . . . is not able to estimate a possible range of loss at this

time.” (Defs’ Ex. 13 at 36–39 (1Q18 Form 10‐Q); Defs’ Ex. 14 at 41–44 (2Q18 Form 10‐Q);

Defs’ Ex. 15 at 42–46 (3Q18 Form 10‐Q).)

       H. 3M Disclosures Made in 2019

       3M filed its 2018 Form 10‐K in February 2019. (Defs’ Ex. 16; Compl. ¶ 23.) Like

3M’s prior disclosures, this Form 10‐K disclosed litigation over historical PFAS

manufacturing operations in Alabama and Minnesota, state attorneys general litigation

relating to PFAS, as well as aqueous film forming foam (“AFF Foam”) environmental

litigation, and other PFAS‐related litigation. (Defs’ Ex. 16 at 115–19.)

       April 25 Report of 1Q19 Results. On April 25, 2019, 3M reported results for the first

quarter of 2019, which included, among other things, that its sales decreased by five

percent and its adjusted earnings per share (“EPS”) decreased 10.8% year‐on‐year.

(Compl. ¶ 122; Defs’ Ex. 18 at 2 (ECF pagination).) 3M also announced two significant

litigation issues that impacted its first‐quarter results: (1) a litigation reserve of



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$235 million “to resolve certain environmental matters and litigation . . . related to its

historical manufacture and disposal of PFAS‐containing waste” in Alabama, Illinois,

Minnesota, Belgium, and Germany; and (2) a litigation reserve of $313 million for “coal

mine dust lawsuits.” (Defs’ Ex. 18 at 3; see Compl. ¶¶ 122–23, 131, 190.)

        During an earnings call that day, Roman explained that the new PFAS reserve of

$235 million covered “certain environmental matters and litigation related to the

manufacture and disposal of PFAS at five 3M facilities including three in the United

States and two in Europe.” (Defs’ Ex. 19 at 3.) When asked why 3M’s reserve for

manufacturing and disposal matters “might not just be 850 [million] times 4,”

representing the amount of the AG Litigation settlement multiplied by the four other sites

where 3M manufactured and disposed of PFAS, Roman explained,

        our manufacture footprint is different in every one of those sites. And so,
        that’s part of it. But really, I guess what you can take from this is it’s not . . .
        simple math of multiplying times 5. We now define probable and estimable
        for the litigation that we face in those five sites as with this reserve. So that
        is . . . the way we have determined what is estimable across that.

(Id. at 19.)

        One analyst commented 3M’s $235 million reserve “look[ed] low vs. $800m+ paid

to Minnesota.” (Compl. ¶ 127.) 3M stock fell around 13% that day. (Id. ¶ 130.)

        1Q19 Form 10‐Q. The next day, 3M filed its 1Q19 Form 10‐Q, in which it explained

that 3M increased its reserve based on a recently completed “comprehensive review with

the assistance of environmental consultants and other experts regarding environmental



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matters and litigation” relating to the PFAS past manufacturing operations in Minnesota,

Alabama, and Germany, and four former landfills in Alabama. (Compl. ¶ 131.6)

       May 15 Earnings Call. During an analyst conference on May 15, 2019, Defendant

Nicholas Gangestad—who was then 3M’s Chief Financial Officer—stated:

       We also established a PFAS reserve of $235 million to cover certain
       environmental matters and litigation related to our manufacture and
       disposal of PFAS at 5 3M facilities, including 3 in the United States and 2 in
       Europe. This reserve does not cover any product claims related to PFAS.
        ...
       On PFAS, the ring‐fence I would call it is ring‐fenced around liability
       around our 5 manufacturing sites and disposal of PFAS. Because that’s a
       view where we looked at all the discussions going on in all of the sites, all
       the litigation and putting our best estimate together of what we think all of
       those costs will be. So that portion, I would call ring‐fenced.

(Defs’ Ex. 21 at 5, 8 (ECF pagination); Compl. ¶ 137.)

       In June, a Barclays analyst issued a report estimating that 3M’s potential liabilities

could total $5 billion for PFAS‐related liabilities. (Compl. ¶ 139.)

       July 8 Disclosure. On July 8, 2019, 3M announced that it had begun to investigate

possible PFAS contamination in three municipal landfills that had accepted waste from

3M’s Alabama plant. (Compl. ¶ 140.) 3M explained that “for the past several months, 3M

has been conducting a thorough search for former landfills . . . to test for any waste that




6While the Complaint defines the quarterly report filed on April 26, 2019, as the “1Q18
Form 10‐Q,” (Compl. ¶ 131), the “1Q18” appears to be a typographical error. The Court
understands the report to be the 1Q19 Form 10‐Q.


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may include PFAS.” (Id. ¶141.) The price of 3M common stock fell 1.6% that day. (Id.

¶ 143.)

          That same day, an analyst estimated that 3M’s liability could be anywhere from $6

billion (based on cases filed to date) to $22 billion (based on the contaminated sites

identified to date). (Pls’ Ex. 9 at 1.) The analyst also noted these estimates could prove to

be conservative, but that “favorable trial verdicts [for 3M] could push the manufacturer

liability in the opposite direction.” (Id.)

          I. Consistent Statements in 3M’s Financial Disclosures

          3M’s annual financial disclosures for 2016, 2017, and 2018 all state that 3M

“complies with the requirements of ASC 450, Contingencies, and related guidance,” and

the specific accrual and disclosure requirements of ASC 450. (Defs’ Ex. 3 at 112 (2016 Form

10‐K); Defs’ Ex. 8 at 117 (2017 Form 10‐K); Defs’ Ex. 16 at 110 (2018 Form 10‐K).) As for

accruals, 3M stated that it “records liabilities for legal proceedings in those instances

where it can reasonably estimate the amount of the loss and the loss is probable.”7 (Defs’

Ex. 3 at 112 (2016 Form 10‐K); Defs’ Ex. 8 at 117 (2017 Form 10‐K); Defs’ Ex. 16 at 110 (2018

Form 10‐K).) And 3M “discloses significant legal proceedings even where liability is not

probable or the amount of the liability is not estimable, or both, if [3M] believes there is


73M’s quarterly financial disclosures refer to its annual disclosure for more information
about 3M’s process for disclosing liabilities for legal proceedings. (E.g., Defs’ Ex. 5 at 31
(1Q17 Form 10‐Q); Defs’ Ex. 6 at 36 (2Q17 Form 10‐Q); Defs’ Ex. 7 at 37 (3Q17 Form 10‐
Q); Defs’ Ex. 13 at 32 (1Q18 Form 10‐Q); Defs’ Ex. 14 at 37 (2Q18 Form 10‐Q); Defs’ Ex. 15
at 38 (3Q18 Form 10‐Q).)


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at least a reasonable possibility that a loss may be incurred.” (Defs’ Ex. 3 at 112 (2016

Form 10‐K); Defs’ Ex. 8 at 117 (2017 Form 10‐K); Defs’ Ex. 16 at 110 (2018 Form 10‐K).)

       3M also included cautionary language about litigation risk, warning of the

“difficult[y in] reliably predict[ing]” and “inherent uncertainties” of litigation, that

“unfavorable rulings or developments could occur” that could lead 3M to “change

current estimates of liabilities” or “make such estimates for matters previously not

susceptible of reasonable estimates,” that “there can be no certainty that [3M] may not

ultimately incur charges in excess of presently recorded liabilities,” and that

developments “could result in future charges that could have a material adverse effect

on [3M’s] results of operations or cash flows in the period in which they are recorded.”

(E.g., Defs’ Ex. 3 (2016 Form 10‐K) at 12, 112.) “Although [3M] cannot estimate its

exposure to all legal proceedings, it currently believes that such future charges, if any,

would not have a material adverse effect” on 3M’s financial position. (Id. at 112.) 3M

explained that it “reexamines its estimates of probable liabilities . . . each period, and

whether it is able to estimate a liability previously determined to be not estimable and/or

not probable,” and makes “additions to or adjustments of its estimated liabilities.” (Id.) It

also noted that “current estimates of the potential impact on [3M’s] consolidated financial

position . . . for the legal proceedings . . . could change.” (Id.)

       Between December 31, 2016, and December 31, 2018, 3M recorded between

$25 million and $69 million for “other [PFAS‐related] environmental liabilities.” (Compl.



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¶ 125; see id. ¶¶ 153, 159, 162, 165, 169, 176, 179, 182, 186.) 3M repeatedly disclosed that

its accruals for these “other environmental liabilities” stemmed from “an evaluation of

currently available facts . . . .” (Id. ¶¶ 153, 159, 162, 165, 169, 176, 179, 182, 186.) During

that time, 3M’s financial disclosures stated:

       For sites included in both “environmental remediation liabilities” and
       “other environmental liabilities,”8 at which remediation activity is largely
       complete and remaining activity relates primarily to operation and
       maintenance of the remedy, including required post‐remediation
       monitoring, [3M] believes the exposure to loss in excess of the amount
       accrued would not be material to [3M’s] consolidated results of operations
       or financial condition. However, for locations at which remediation activity
       is largely ongoing, [3M] cannot estimate a possible loss or range of loss in
       excess of the associated established accruals for the reasons described
       above.

(Compl. ¶¶ 153 (2016 Form 10‐K); 159 (1Q17 Form 10‐Q); 162 (2Q17 Form 10‐Q); 165

(3Q17 Form 3‐Q); 169 (2017 Form 10‐K); 176 (1Q18 Form 10‐Q); 179 (2Q18 Form 10‐Q);

182 (3Q18 Form 10‐Q); 186 (2018 Form 10‐K).) 3M’s auditor PwC reviewed 3M’s accruals

on a quarterly and annual basis. After each review, PwC affirmed that the statements

conformed with GAAP. (E.g., Defs’ Exs. 3 at 54; Defs’ Ex. 5 at 47.)

       J. Post‐Class Period Events

       After July 8, 2019, 3M took additional charges for PFAS‐related liabilities. (ECF

No. 100 (“Pls’ Br.”) at 12–13.) In January 2020, 3M announced a litigation‐related pre‐tax




8At oral argument, 3M confirmed that only “other environmental liabilities” related to
PFAS liabilities, and that “environmental remediation liabilities” are unrelated to PFAS.
The parties thus agreed that “environmental remediation liabilities” are not at issue.


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charge of $214 million in part because, during the fourth quarter of 2019, 3M “updated

its assessment of environmental matters and litigation related to its historical PFAS

manufacturing operations and expanded its evaluation of the other 3M sites that may

have used certain PFAS‐containing material and locations at which they were disposed.”

(Pls’ Ex. 13 at 6 (Jan. 28, 2020 Form 8‐K).) According to 3M’s 2019 Form 10‐K, 3M recorded

liabilities of $445 million for its “other [PFAS‐related] environmental liabilities.” (Pls’

Ex. 5 at 121.) 3M continued to increase its accruals for PFAS‐related environmental

liabilities during the first three quarters of 2020. (Pls’ Exs. 6–8.)

       K. This Litigation

       Plaintiffs represent a putative class of purchasers of 3M common stock between

February 9, 2017, and July 8, 2019 (“Class Period”). (Compl. ¶ 1.) They allege that 3M and

the Individual Defendants (Roman, Gangestad, and former 3M CEO Inge Thulin), knew,

or were reckless in not knowing, by February 9, 2017 (the day after 3M filed its 2016 Form

10‐K and eleven days before the AG Litigation settlement), that 3M faced significant

liabilities related to its manufacture, distribution, and disposal of PFAS. (Id. ¶¶ 144, 147.)

Count I alleges violations of Section 10(b) of the Exchange Act and SEC Rule 10b‐5 against

all Defendants, and Count II alleges violations of Section 20(a) of the Exchange Act

against the Individual Defendants. (Id. ¶¶ 261–69.)




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                                         ANALYSIS

       I.     Section 10(b) Claim under the PSLRA

       To survive a motion to dismiss in a private securities‐fraud action, Plaintiffs must

plausibly plead a claim to relief under Section 10(b) and Rule 10b–5 when accepting all

alleged facts as true. In re Target Corp. Sec. Litig., 275 F. Supp. 3d 1063, 1070 (D. Minn.

2017) (citing Tellabs, Inc. v. Makor Issues & Rts., Ltd., 551 U.S. 308, 322, (2007)). “The PSLRA

goes beyond the ordinary pleading requirements described in Rules 8(a)(2) and 9(b) of

the Federal Rules of Civil Procedure.” In re 2007 Novastar Fin. Inc., Sec. Litig., 579 F.3d 878,

882 (8th Cir. 2009).

       Under the PSLRAʹs heightened pleading requirements, a complaint must:

(1) “specify each false statement or misleading omission and explain why the omission

was misleading,” and (2) “state ‘with particularity’ facts giving rise to a ‘strong inference’

that the defendant acted with the scienter required for the cause of action.” In re Navarre

Corp. Sec. Litig., 299 F.3d 735, 741–42 (8th Cir. 2002) (quoting Fl. State Bd. of Admin. v. Green

Tree Fin. Corp., 270 F.3d 645, 654 (8th Cir. 2001)). These two heightened pleading

requirements are intended to end the practice of pleading “fraud by hindsight.” Id. at 742

(citation omitted). As the Eighth Circuit has explained, “[c]orporate officials need not be

clairvoyant; they are only responsible for revealing those material facts reasonabl[y]

available to them.” Id. at 743 (citation omitted). The Court considers the Complaint as a




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whole, as well as documents incorporated into the Complaint by reference, and matters

of which a court may take judicial notice. Tellabs, 551 U.S. at 323.

       Defendants assert that the Court should dismiss the Section 10(b) claim because it

fails to plead an actionable misstatement and fails to plead a strong inference of scienter.

The Court addresses each issue in turn.

       A. Actionable Misstatement

       Under the PSLRA standard, Plaintiffs must “plead the existence of any facts or

further particularities that, if true, demonstrate that the defendants had access to, or

knowledge of, information contradicting their public statements when they were made.”

Navarre, 299 F.3d at 742. The “circumstances of the fraud must be stated with

particularity, including such matters as the time, place and contents of false

representations, . . . [t]his means the who, what, when, where, and how.” Pub. Pension

Fund Grp. v. KV Pharm. Co., 679 F.3d 972, 980 (8th Cir. 2012) (citing In re K‐tel Intʹl, Inc. Sec.

Litig., 300 F.3d 881, 890 (8th Cir. 2002)).

       Defendants argue that the Complaint fails to comply with the PSLRA because it

amounts to “puzzle” or “kitchen sink” pleading.9 Under this principle, courts are to


9 By “kitchen sink” pleading, the Court understands Defendants to mean a securities
fraud complaint that reproduces SEC filings, press releases, and transcripts of conference
calls, without providing “any indication as to what specific statements within these
communications are alleged to be false or misleading.” Novastar, 579 F.3d at 882–83. The
Eighth Circuit has found that this practice “does not satisfy the PSLRAʹs requirement of
pleading with sufficient particularity because it does not identify ‘what’ statements were
allegedly false or misleading.” Id.


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disregard “catch‐all” or “blanket” assertions not meeting the particularity requirements.

Ferris, Baker Watts, Inc. v. Ernst & Young, LLP, 395 F.3d 851, 853 (8th Cir. 2005). “[I]f no

reasonable investor could conclude public statements, taken together and in context,

were misleading, then the issue is appropriately resolved as a matter of law.” K‐tel, 300

F.3d at 897 (citation omitted).

       In their Complaint, Plaintiffs include something at least akin to the kitchen sink,

by alleging that entire swaths of 3M’s SEC filings are false. Plaintiffs contend that they

have identified the misstatements at issue by using the word‐processing functions of

highlighting and bold font. (Pls’ Br. at 40.) Though this approach does not avoid the

“kitchen sink” issue entirely, the Court focuses on and analyzes those statements below.

Plaintiffs direct the Court to certain paragraphs setting forth allegedly false and

misleading statements and omissions made during the Class Period and facts supporting

why each is false or misleading. (Id. at 40 n.23 (citing Compl. ¶¶ 144—51, 172).)10

       The parties do not dispute that throughout the Class Period, 3M (1) disclosed the

nature of its PFAS‐related contingent liabilities, (2) accrued for some PFAS‐related




10 While Plaintiffs highlighted statements about “environmental remediation” accruals,
they do not allege that those accruals—which are unrelated to PFAS—are false. (Defs’
Reply at 4.) At the hearing, Plaintiffs’ counsel acknowledged that they do not challenge
accruals unrelated to PFAS, and so do not challenge the “environmental remediation”
accruals. Similarly, although Plaintiffs highlighted statements about Defendants’
litigation risk factor disclosures in the Complaint, they do not allege that these statements
are false. (Id.)


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liabilities, and (3) stated that it could not estimate the possible loss or range of loss for

other PFAS‐related liabilities. The parties quarrel over whether the Complaint adequately

pleads that 3M’s accruals and beliefs about the effect of future PFAS‐related charges were

both (1) probable and (2) reasonably estimable under ASC 450. And Plaintiffs maintain

that Defendants failed in their duty to disclose an estimate of the possible “range of loss”

for the PFAS‐related liabilities. (Pls’ Br. at 16); ASC 450‐20‐50‐4. For the reasons below,

the Court finds that Plaintiffs have not adequately alleged a material misrepresentation

based on 3M’s failure to accrue or estimate a range of loss for PFAS‐related liabilities.

       1. GAAP Allegations

       A critical question to the resolution of this motion is whether the Complaint

sufficiently alleges that 3M’s disclosures failed to satisfy the requirement of ASC 450, and

specifically: (a) whether 3M appropriately accrued for PFAS‐related liabilities; and

(b) whether 3M had a duty to disclose an estimate of a range of loss for such liabilities.

But the Complaint does not mention GAAP, ASC 450, or any other accounting rule. And

although Plaintiffs assert in their brief that “[t]he Complaint alleges that [3M’s] PFAS‐

related liabilities were both ‘probable’ and could be ‘reasonably estimated’ during the

Class Period,” (Pls’ Br. at 16), nowhere does the Complaint allege that the losses relating

to PFAS were in fact “probable” or could be “reasonably estimated.” Cf. Luna v. Marvell

Tech. Grp. Ltd, No. 15‐CV‐05447‐RMW, 2016 WL 5930655, at *7 (N.D. Cal. Oct. 12, 2016)

(“The decisions to accrue a loss reserve requires more detailed analysis than matching



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expenses; therefore, more detailed allegations are required to explain how defendants

violated GAAP in this case.”).

               a. PFAS‐Related Accruals

       Despite the lack of allegations about ASC 450 or GAAP in the Complaint itself,

Plaintiffs’ briefs argue that 3M’s allegedly unrealistic PFAS‐related accruals violated

GAAP and therefore constituted securities fraud. (Pls’ Br. at 17–24.)

       3M accrued between $25 million and $69 million for “other environmental

liabilities” related to PFAS through December 31, 2018. (Compl. ¶ 125.) 3M also described

various litigation matters, including the AG Litigation. For environmental litigation

matters described in the financial statements for which 3M did not record liability, 3M

stated its belief that “any such liability is not probable and reasonably estimable and [3M]

is not able to estimate a possible loss or range of loss at this time.” (E.g., Defs’ Ex. 3 at 119;

Defs’ Ex. 5 at 38; Defs’ Ex. 6 at 43–44; Defs’ Ex. 7 at 45.) In April 2019, 3M increased its

accrual for “other environmental liabilities” by $235 million, “representing [3M’s] best

estimate of the probable loss” to cover (among other things) environmental matters and

litigation related to the manufacture and disposal of PFAS at five 3M facilities. 3M also

explained that it was “not able to estimate a possible loss or range of loss in excess of the

established accruals at this time.” (Compl. ¶ 131 (quoting 1Q19 Form 10‐Q, emphasis

added).)




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       Plaintiffs maintain that the amounts 3M accrued were “materially less than [3M’s]

true (but undisclosed) multi‐billion dollar exposure.” (Pls’ Br. at 17.) They point to 3M’s

later increases in accruals for PFAS‐related liabilities, and analysts’ later estimates of 3M’s

liabilities, to demonstrate that the earlier statements were inaccurate. These arguments

alone are impermissible fraud‐by‐hindsight. The PSLRA “cannot be satisfied with

allegations that defendants made statements and then showing in hindsight that the

statement is false.” Elam v. Neidorff, 544 F.3d 921, 927 (8th Cir. 2008) (citations omitted,

cleaned up).

       Under ASC 450, 3M needed to accrue for losses that were probable and reasonably

estimable at the time it issued the financial statements. Plaintiffs insist that when 3M

issued its financial statements, 3M’s undisclosed liabilities were probable because 3M had

distributed PFAS for decades, and 3M knew of: (1) DuPont’s $671 million settlement,

(Compl. ¶ 96); (2) 3M’s nearly $900 million settlement of the AG Litigation, (id. ¶ 106);

(3) the Minnesota Attorney General’s expert report that the State had suffered $5 billion

in damages as a result of 3M’s PFAS, (id. ¶ 111); (4) the EPA’s raising standards relating

to PFAS and drinking water safety, (id. ¶¶ 68–69); and (5) the internal 3M documents that

the Minnesota Attorney General disclosed after settling the AG Litigation, (id. ¶ 115). (Pls’

Br. at 18–19.)

       Taken as true, Plaintiffs’ factual allegations do not suggest that the PFAS‐related

liability for which 3M did not accrue was “probable,”—that is, had at least a seventy



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percent change of occurring—when 3M made the statements. (Defs’ Ann. D at 3.) Before

settling the AG Litigation, 3M moved for summary judgment on a statute of limitations

defense that, if successful, would have resulted in zero liability. Nor does the Complaint

allege how the DuPont settlement (to which 3M was not a party), or the EPA’s heightened

standards (which are “non‐enforceable and non‐regulatory,” (Defs’ Ex. 55 at 1)), made

additional PFAS‐related liability probable. See Luna, 2016 WL 5930655, at *6 (dismissing

securities claim based on the company’s alleged failure to accrue for the domestic

royalties where plaintiffs did not allege “any contemporaneous facts demonstrating that

defendants must have known that Marvell would lose” in patent litigation).

       And even if these alleged facts made additional PFAS‐related liability probable,

none of them offers any indication that any amount beyond 3M’s accrual was reasonably

estimable. See K‐tel, 300 F.3d at 891 (“[T]he complaint must allege facts or further

particularities that, if true, demonstrate that the defendants had access to, or knowledge

of, information contradicting their public statements when they were made.”) (internal

quotation marks and citations omitted). Indeed, the alleged facts do the opposite: they

highlight the difficulty in reasonably estimating the appropriate accrual. For example, in

September 2017, the Minnesota Attorney General produced an expert opinion that 3M’s

PFAS had caused $5 billion in damages to the state (3M disclosed the opinion in its 2017

Form 10‐K). Five months later, the parties settled the AG Litigation for a fraction of that

amount ($897 million). So the expert opinion, even in hindsight, was not a reasonable



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estimate of liability. And the Complaint points to no other document available at the time

that would garner a reasonably estimable PFAS‐related exposure.

       Construing all inferences in Plaintiffs’ favor, the Complaint does not provide any

indication that Defendants knew of a reasonably estimable amount that 3M should have

accrued during the Class Period above the amounts it did accrue. Instead, the Complaint

itself demonstrates that the liability was not estimable: it uses descriptions, rather than

numbers, to call the potential liability “massive,” “significant,” and “enormous.” (E.g.,

Compl. ¶¶ 3, 104–05, 144, 146–47, 149.)11 Plaintiffs point to analyst assessments of 3M’s

PFAS‐related liabilities as ranging from $5 to $6 billion to more than $22 billion. (Compl.

¶¶ 139, 206; Pls’ Ex. 9 at 1.) But these reports do not indicate that 3M’s liability was

“probable.” (E.g., Defs’ Ex. 23 at 5 (ECF pagination) (Barclays June 2019 analyst report

noting that many of the PFAS claims had a “low probability of proving causation”); see

also Compl. ¶ 126 (alleging that a Deutsche Bank analyst wrote that 3M’s “PFAS litigation

remains an unquantifiable concern” in April 2019).) No reasonable investor could have

been aware of 3M’s public disclosures and yet unaware of the potential PFAS‐related

liabilities. The relevant details “were encompassed by what was communicated to the

market,” that is, that 3M was facing substantial liabilities relating to its historical

manufacture and disposal of PFAS. In re Bank of Am. AIG Disclosure Sec. Litig., 980 F. Supp.




11All three of these adjectives, it would seem, describe $5 billion, the amount estimated
by the AG’s expert and disclosed by 3M.


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2d 564, 577 (S.D.N.Y. 2013) (finding that defendants were not liable for failing to reiterate

information to which reasonable investors had ready access), affʹd, 566 F. Appʹx 93 (2d

Cir. 2014).12

       Plaintiffs argue that, at a minimum, the reasonable estimate of loss was “a range

of amounts,” and thus 3M had to accrue an amount for the loss. ASC 450‐20‐25‐2. They

contend that Defendants “did not accrue a single dollar for any liabilities related to” the

AG Litigation before settlement. (Pls’ Br. at 21.) But the amounts at issue in that litigation

ranged from nothing—if the court accepted 3M’s statute of limitations defense—to

$5 billion—if the factfinder believed the Minnesota Attorney General’s expert. 3M

disclosed this information in its 2017 Form 10‐K, along with the court’s admonition that

the parties attempt to settle the litigation prior to the trial set for February 2018. (Defs’

Ex. 8 at 124); see Luna, 2016 WL 5930655, at *7 (finding that plaintiff failed to allege any




12In Bank of America, the plaintiffs alleged that sometime during the class period, it became
probable that AIG would sue BoA, and that BoA should have disclosed the potential
lawsuit, which could have resulted in a loss of between zero and $10 billion. 980 F. Supp.
2d at 576. A New York Times article had estimated the potential loss and AIG had
disclosed it to the public. Id. at 576–77. The court explained that “there is no duty to
disclose information to one who reasonably should be aware of it. Where allegedly
undisclosed material information is in fact readily accessible in the public domain, . . . a
defendant may not be held liable for failing to disclose this information.” Id. at 576
(internal quotation marks and citations omitted). The court found that the defendants
were not required to disclose either the imminence of the suit or the loss range: “[n]o
reasonable investor could have been aware of these public disclosures and ignorant of
the potential imminence and amount of the AIG suit because the salient details of the
potential litigation were encompassed by what was communicated to the market.” Id. at
577.


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misstatement with respect to the company’s litigation reserve where defendants

disclosed the total amount of the potential loss, the status of the company’s appeal, and

its decision not to accrue a reserve for any part of the award); Bank of Am., 980 F. Supp.

2d at 584 (finding that the company’s disclosure that “[f]or some matters for which a loss

is probable or reasonably possible, such an estimate is not possible” captured a potential

lawsuit because the company’s exposure to the suit, which ranged from zero to

$10 billion, was inestimable).

       Plaintiffs also rely on In re Bayer AG Securities Litigation, in which the court upheld

allegations that sufficiently pled a material misstatement related to the drug Baycol.

No. 03 Civ. 1546 WHP, 2004 WL 2190357 (S.D.N.Y. Sept. 30, 2004). The Bayer plaintiffs

alleged that during an internal meeting, safety experts told Bayer executives that the

dangers associated with Baycol were “putting the brand at risk.” Id. at *4. Bayer later

withdrew Baycol from the market, but described product liability litigation over Baycol

as “unfounded” and “concluded that there was no need to establish reserves for potential

losses.” Id. at *5–6. The defendants contended that the complaint failed to allege facts

showing that “it was more likely than not that a liability had been incurred during that

time, or that the amount of the potential loss could reasonably be estimated.” Id. at *12.

The court disagreed, finding that once “defendants were aware of problems with Baycol”

at the internal meeting, that “information ma[de] it more likely than not that a loss

contingency would arise.” Id. The court found that the plaintiffs “sufficiently pled a



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material misstatement in light of the conclusion reached at the [internal] meeting,” but

did not specially address whether the amount of loss was also reasonably estimable.13 Id.

at *14.

          Finally, Plaintiffs rely on CitiGroup, Inc. Bond Litigation, in which the plaintiffs

alleged that CitiGroup materially misrepresented its “loan loss” reserves14 because

although the company “was required to hold in reserve an amount necessary to protect

it against all ‘likely’ losses,” it calculated reserves based only on assets that had already

defaulted, rather than also including assets that were reasonably likely to default in the

future. 723 F. Supp. 2d at 575, 592. The loss reserves allegedly violated GAAP rules

“which required defendants to set aside reserves whenever it was ‘probable that an asset

had been impaired’ and ‘the amount of the loss [could] be reasonably estimated.’” Id. at




13Plaintiffs maintain that Bayer “further held that ‘the amount of the loss could reasonably
be estimated, as required by GAAP’ once defendants were forced to withdraw Baycol
from the market, which made ‘defendants’ statements regarding litigation reserves . . .
materially misleading.’” (Pls’ Br. at 20 (quoting Bayer, 2004 WL 2190357, at *12).) But
Plaintiffs quote Bayer out of context. In considering whether the plaintiffs had alleged that
pre‐withdrawal claims were reasonably estimable, the Bayer court found that they had
not: “plaintiffs have sufficiently alleged that by August 2000 defendants possessed
information making it more likely than not that a loss contingency would arise, [but]
plaintiffs do not allege that the amount of the loss could reasonably be estimated, as required by
GAAP. Accordingly, plaintiffs have not alleged that defendants’ pre‐withdrawal statements
concerning Bayerʹs financial performance were inconsistent with recognized accounting
standards and thus materially misleading.” 2004 WL 2190357, at *12 (emphasis added,
citations omitted).

14A loan loss reserve is “a current reserve against likely credit losses in a companyʹs
portfolio.” In re CitiGroup Inc. Bond Litig., 723 F. Supp. 2d 568, 578 (S.D.N.Y. 2010).


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580 (citing complaint); see Statement of Fin. Acct. Standards (SFAS) No. 5. The CitiGroup

court did not specifically address whether the amount was reasonably estimable, but

noted that the complaint identified “specific factual allegations” supporting a finding that

CitiGroup failed to satisfy the GAAP requirement. 723 F. Supp. 2d at 592. The court held

that the complaint plausibly alleged that the loan loss reserves failed to accurately

account for losses likely to incur and thus were materially misleading.15 Id.

       3M is distinguishable from the cases cited by Plaintiffs. Unlike CitiGroup, this

Complaint does not contain specific factual allegations supporting a finding that 3M

failed to satisfy ASC 450.16 And unlike Bayer, the Complaint does not allege facts showing

that 3M had internal information that conflicted with what it disclosed to the public. For

example, 3M disclosed in its 2017 Form 10‐K that the Minnesota Attorney General’s

expert had opined $5 billion in damages. (Defs’ Ex. 8 at 124.) Although 3M did not record

liability for the AG Litigation because it believed such liability was “not probable and

estimable,” 3M cautioned that an adverse ruling “could result in future charges that could




15Plaintiffs also cite Green Tree as supporting their argument that the adequacy of reserves
is a question of fact that cannot render the Complaint inadequate. (Pls’ Br. at 16 (citing
Green Tree, 270 F.3d at 666).) But the Eighth Circuit focused on the issue of scienter in
Green Tree. 270 F.3d at 654 (“The question before us is whether the facts pleaded in the
complaints adequately plead scienter.”).

16Cf. In re Countrywide Fin. Corp. Derivative Litig., 554 F. Supp. 2d 1044, 1070 (C.D. Cal.
2008) (“[G]iven the discretion inherent in the setting of loan loss reserves, and the use of
independent auditors, Plaintiffs have not adequately pled particularized facts that show
that the loan loss levels were, in fact, so low that they were false and misleading.”).


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have a material adverse effect on [3M’s results of operations or cash flows . . . and on the

consolidated financial position of [3M].” (Id.); see Bank of Am., 980 F. Supp. 2d at 582

(finding that defendants had no duty to supplement their truthful disclosures about

litigation risk or its effect on profitability where the particulars of a potential lawsuit

“were known to the market and thus allowed investors to evaluate the defendantʹs

statements”).

                b. Duty to Estimate a Range of Loss

       In a different argument, Plaintiffs contend that under ASC 450, 3M had a duty to

estimate a range of loss for 3M’s PFAS‐related liabilities. (Pls’ Br. at 24–27.) Under the

ASC 450 standard, 3M’s PFAS‐related liabilities were “reasonably possible” (though not,

as addressed above, probable), thus triggering a requirement different from accruing a

reasonably estimable amount—that is, the requirement to disclose (a) the nature of the

contingent loss, and (b) an estimate of the possible loss or range of loss or a statement that

such estimate cannot be made. ASC 450‐20‐50‐4. No one disputes that 3M disclosed the

nature of the contingent losses related to PFAS. But, instead of estimating a range of loss,

3M stated that it could not estimate the range—something explicitly allowed by ASC 450.

Plaintiffs maintain that 3M had access to specific objective information to estimate a range

of loss. (Pls’ Br. at 24–27.)

       In making this argument, Plaintiffs rely heavily on In re Perrigo Co. PLC Securities

Litigation, 435 F. Supp. 3d 571 (S.D.N.Y. 2020). In Perrigo, the defendants, upon learning



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of a tax liability of €1.6 billion from Ireland’s tax authority, told investors that the liability

“cannot be quantified at this stage” but “could be material.” Id. at 586–87. The court held

that even if the company “‘disagreed’. . . and intended to contest” the tax liability, the

company had a duty to quantify its exposure under ASC 450. Id. at 586. The court rejected

the defendants’ position, which would have allowed a reporting entity that intended to

contest an amount at issue to “avoid quantifying and reporting its exposure by saying

that it disagreed with the claimant’s position and there was, as of yet, no final

determination on the amount of any deficiency.” Id. at 587. Perrigo rightly decided that

“when an issue is ‘open to considerable interpretation,’ an entity nonetheless must

estimate the possible loss where such an estimate can be made and disclose that exposure to

loss if the issue is resolved adversely.” Id. (emphasis added).

       Perrigo presents a different scenario entirely than the one presented here. In

Perrigo, a governmental authority had calculated a specific undisclosed amount of a tax

liability (€1.6B). See id. at 587 (“There is no question that after receipt of the Audit Findings

Letter such a figure was reasonably calculable. Irish Revenue provided the number to

Perrigo.”). Here, in contrast, 3M was addressing multiple, early‐stage litigations asserting

varying environmental claims. And in the AG Litigation, a dispositive motion was

outstanding. The Complaint offers no particularities suggesting that 3M could provide a

reasonable range of estimated liability. Thus, Perrigo does not assist Plaintiffs.




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       Plaintiffs point to the SEC Staff Accounting Bulletin (“SAB”) No. 114, which states

that “environmental remediation liabilities typically are of such significance that detailed

disclosures regarding the judgments and assumptions underlying the recognition and

measurement of the liabilities are necessary to prevent the financial statements from

being misleading.” (Pls’ Br. at 26.) But SAB No. 114 also notes that if a disclosure involves

a loss contingency covered by ASC 450, it must include an estimate of possible loss or

state that such an estimate cannot be made. (Defs’ Ann. G at 135.) The Class Period

coincides with the early stages of much of the PFAS‐related litigation. (E.g., Compl. ¶ 89

(alleging that “[s]ince 2015, numerous other cases have been filed against 3M . . . for

claims relating to, among other things, the PFAS contamination of Alabama’s waterways,

the additional remediation required to removes PFAS from municipal water supplies,

and the damage caused by PFAS to public health and property.”); id. ¶¶ 99–100 (alleging

“approximately 120 class action and other lawsuits . . . filed against 3M . . . relating to the

damages caused by PFAS contained in 3M‐made AFF Foam” were consolidated into an

MDL in 2018).) Plaintiffs offer no factual allegations showing that cost estimates for the

PFAS‐related liabilities were anything but difficult to derive because of uncertainties

about a variety of factors.17


17ASC 410 acknowledges that “[i]n the early stages of [estimating environmental
remediation liabilities], cost estimates can be difficult to derive because of uncertainties
about a variety of factors. . . . [I]n many cases, early estimates later require significant
revision.” ASC 410‐30‐25‐7; see also ASC 410‐30‐25‐2 (explaining that the amount of
environmental remediation costs is not generally fixed and determinable at a specific


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       2. Future Charges’ Effect on Consolidated Financial Position

       Plaintiffs also allege fraud in 3M’s assurances that future losses would not have a

material impact on 3M were knowingly misleading because Defendants were aware of

3M’s large and increasing PFAS‐related liabilities. (Pls’ Br. at 9, 15, 27–31; Compl. ¶¶ 118,

144–52.) The challenged statement is as follows: Although 3M “cannot estimate its

exposure to all legal proceedings, it currently believes that such future charges, if any,

would not have a material adverse effect on [3M’s] consolidated financial position.”

(Compl. ¶¶ 156, 171, 188.) Plaintiffs also challenge 3M’s statement that while it “cannot

predict with certainty the future costs of such cleanup activities, capital expenditures or

operating costs for environmental compliance, [3M] does not believe they will have a

material adverse effect on its capital expenditures, earnings or competitive position.” 18

(Id. ¶¶ 154, 70, 187.)




time, but “become estimable over a continuum of events and activities that help to frame,
define, and verify the liability”).

18 For example, 3M’s 2017 Form 10‐K stated that for sites “at which remediation activity
is largely complete . . . [3M] believes the exposure to loss in excess of the amount accrued
would not be material to [3M’s] consolidated results of operations or financial condition.
However, for locations at which remediation activity is largely ongoing, [3M] cannot
estimate a possible loss or range of loss in excess of the associated established accruals . .
. .” (Compl. ¶ 169; Defs’ Ex. 8 (2017 Form 10‐K) at 127.) It is no surprise that 3M would
believe exposure above an accrued amount would not be material for sites where activity
is “largely complete.” Nor is it surprising that 3M could not estimate the possible loss for
remediation that was largely ongoing. See generally ASC 410‐30‐25‐7; ASC 410‐30‐25‐2.


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       Again Plaintiffs allege nothing in the Complaint that 3M knew different—no

contrary facts or knowledge that 3M had and was hiding. And reasonable investors do

not read sentences in financial statements in isolation. See Omnicare, Inc. v. Laborers Dist.

Council Constr. Indus. Pension Fund, 575 U.S. 175, 190 (2015) (“[A]n investor reads each

statement within [a financial disclosure] document, whether of fact or of opinion, in light

of all its surrounding text, including hedges, disclaimers, and apparently conflicting

information.”). Here, those statements were surrounded by cautions: 3M’s financial

statements included warnings that “unfavorable rulings or developments could occur”

that could lead 3M to “change current estimates of liabilities” or “make such estimates

for matters previously not susceptible of reasonable estimates,” that “there can be no

certainty that [3M] may not ultimately incur charges in excess of presently recorded

liabilities,” and that developments “could result in future charges that could have a

material adverse effect on [3M’s] results of operations or cash flows in the period in which

they are recorded.” (E.g., Defs’ Ex. 3 (2016 Form 10‐K) at 12, 112.) And, importantly, the

statements include pages of descriptions of 3M’s PFAS‐related proceedings. (E.g., id. at

116–19.) Without any allegation indicating that 3M had possession of contrary facts, its

statement of belief about the future impact of litigation cannot be the basis for a securities

fraud claim.




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       3. Inactionable Opinions

       3M argues that its accruals and beliefs about the effect of future PFAS‐related

charges are protected opinions. (ECF No. 91 (“Defs’ Br.”) at 29–31; Pls’ Br. at 34–35; ECF

No. 103 (“Defs’ Reply”) at 12); e.g., In re Hertz Glob. Holdings, Inc. Sec. Litig., No. CV 13‐

7050, 2017 WL 1536223, at *11 (D.N.J. Apr. 27, 2017) (holding that loss contingency

determinations under ASC 450 are opinions), affʹd, 905 F.3d 106 (3d Cir. 2018). Opinions

are actionable under the Exchange Act only if: (1) the speaker did not hold the stated

belief; (2) the statements “contain embedded statements of fact”; or (3) the statement

“omits material facts about the issuerʹs inquiry into or knowledge concerning a statement

of opinion, and if those facts conflict with what a reasonable investor would take from

the statement itself.” Omnicare, 575 U.S. at 184–89; (see Defs’ Br. at 30 (applying Omnicare

standard); Pls’ Br. at 35 (same).)

       Honest Belief. Plaintiffs argue that Defendants did not honestly hold their beliefs

because they knew that 3M failed to address PFAS‐related losses it was “likely to incur”

and painted a misleading picture of its liabilities. (Pls’ Br. at 35.) Plaintiffs point to (1) the

Minnesota Attorney General’s expert opinion that the State suffered $5 billion in damages

and (2) the SEC’s questioning of 3M’s failure to record any liability for the AG Litigation

before it settled. (Id. (citing Compl. ¶¶ 11, 116.) But neither of these factual allegations

“demonstrate that Defendants were aware, at the time that [3M] released its financial

statements, that they knew or believed that the [accruals] already taken in those



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statements were inaccurate.” Chapman v. Mueller Water Prod., Inc., 466 F. Supp. 3d 382, 399

(S.D.N.Y. 2020) (finding that plaintiffs failed to allege facts plausibly showing that

defendants held anything but an “honest belief” that they had adequately stated

warranty reserves, such as facts showing the reserves did not represent a fair estimate of

probable expenses when estimated); see Podraza, 790 F.3d at 839 (“Plaintiffs have not

demonstrated the SEC correspondence did notify Defendants their accounting was

incorrect.”). 3M disclosed the Minnesota Attorney General’s expert opinion (which it

disputed) in its 2017 Form 10‐K before the settlement. (Defs’ Ex. 8 at 124.) And while the

SEC questioned 3M about its failure to record any liability before the settlement, 3M

provided a detailed explanation as to why its disclosures satisfied ACS 450, and the SEC

took no further action.19 See Podraza, 790 F.3d at 839 (observing “[t]here was never a

formal inquiry or enforcement action by the SEC, nor any finding of misconduct or fraud”

where SEC asked defendant to explain its accounting).

       Embedded Facts. Plaintiffs also insist that 3M’s accruals contain embedded facts in

the form of artificially low dollar amounts for 3M’s PFAS‐related liabilities. Plaintiffs

maintain that those amounts were based on “an evaluation of currently available facts

with respect to each individual site” and “the evaluation of currently available facts to

implement” 3M’s settlement agreements with certain state agencies and requirements to




19The Court notes that the SEC’s failure to act does not determine the merits of Plaintiffs’
claim that Defendants made false and misleading statements. 15 U.S.C. § 78z.


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address PFAS found near certain manufacturing and former disposal sites. (Pls’ Br. at 35–

36 (citing Compl. ¶¶ 125, 153).) But, as discussed above, Plaintiffs fail to allege specific

facts showing that 3M’s accruals and statements about the effect of future PFAS‐related

liabilities were false when made.

       Omissions. Finally, Plaintiffs insist that Defendants omitted material facts about

billions of dollars of additional liabilities from 3M’s accruals for environmental liabilities.

(Pls’ Br. at 36.) “[M]eeting the standard for omissions ‘is no small task for an investor.’”

Chapman, 466 F. Supp. 3d at 404 (quoting Omnicare, 575 U.S. at 194). According to

Plaintiffs, 3M’s projections are actionable because Defendants offered them without a

“reasonable basis.” (Pls’ Br. at 36 (citing Brogren v. Pohlad, 960 F. Supp. 1401, 1408 (D.

Minn. 1997).) 3M stated the basis for its accruals, which was inherently subjective.

Moreover, 3M explained to investors that “[d]evelopments may occur that could affect

[3M’s] current assessment,” and that unfavorable developments, including a significant

judicial ruling or judgement, or could lead 3M to “change current estimates of liabilities”

or “make such estimates for matters previously not susceptible of reasonable estimates.”

(E.g., Defs’ Ex. 8 (2017 Form 10‐K) at 12, 127.) Plaintiffs fail to allege undisclosed facts

“cutting the other way” from Defendants’ opinion about the adequacy of 3M’s accruals.

Omnicare, 575 U.S. at 189.




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       4. Roman’s and Gangestad’s Statements

       Plaintiffs argue that Roman and Gangestad made false and misleading statements

that were not opinions because they conveyed reliability and certainty. (Pls’ Br. at 31–34,

36–37.)

       Roman. Plaintiffs contend that Roman made false statements during the

April 24, 2018 earnings call. They argue that Roman’s denial that investors “could

reasonably expect to hear news of [other] shoes, however small, dropping,” was false

given the “non‐public internal documents in 3M’s possession which demonstrated its

massive liability.” (Pls’ Br. at 31 (citing first Compl. ¶ 173, then id. ¶ 115.)

       Even as included in the Complaint, Plaintiffs take Roman’s comments out of

context. During the call, an analyst asked Roman if the settlement of the AG Litigation

was a precedent for other states, noting, “[t]here’s been a lot of media mudslinging

around different scenarios, most of which seems highly improbable.” (Compl. ¶ 173;

Defs’ Ex. 10 at 5 (ECF pagination).) Roman responded, “This is a unique situation. This is

our home state and something that we’ve been working on with [Minnesota regulators]

for a number of years. This is a unique situation in both the nature of the case as well as

the process that we’re working through with them.” (Defs’ Ex. 10 at 5; see Compl. ¶¶ 119–

120.) Nothing in the Complaint suggests that the AG Litigation settlement was not

unique, or that 3M has entered into similar settlements with other parties.




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       Gangestad. Plaintiffs contend that Gangestad made false statements during the

May 19, 2019 investor conference in which he stated that 3M’s liability around five

manufacturing sites and disposal of PFAS was “ring‐fenced,” (Compl. ¶ 196), because he

impermissibly “created an impression of a state of affairs that materially differed from

reality.” (Pls’ Br. at 32 (cleaned up, citing Freedman v. St. Jude Med., Inc., 4 F. Supp. 3d 1101,

1114 (D. Minn. 2014)).) In their brief, Plaintiffs claim this statement was false because 3M

was conducting a new investigation into the possible presence of PFAS at other facilities.

In July 2019 (two months after Gangestad’s “ring‐fenced” statement), 3M disclosed that

“for the past several months, 3M has been conducting a thorough search for former

landfill in [two Alabama counties] to test for any waste that may include PFAS.” (Compl.

¶¶ 140–42, 198–99.) Given the short time frame between Gangestad’s statement and this

disclosure, it is reasonable to infer that Gangestad knew of these investigations. See In re

Grand Casinos Sec. Lit., 988 F. Supp. 1273, 1283 (D. Minn. 1997) (“[W]hile the underlying

facts on which plaintiffs rely are not contemporaneous with defendants’ allegedly false

statements, they create a strong inference that defendants knew there were significant

problems when the statements were made.”).

       But allegations that Gangestad knew of the other investigations, standing alone,

do not reasonably imply that he knew the extent of their potential effect on 3M’s

financials. Plaintiffs point to 3M’s recording of another charge of $214 million for

“environmental matters and ligation related to its historical manufacture and disposal”



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of PFAS in January 2020, and another $100 million for additional PFAS‐related liabilities

since then. (Pls’ Br. at 33 (quoting Pls’ Ex. 13 at 5–6).) But this is again fraud by hindsight.

Elam, 544 F.3d at 927. Back in May 2019, Gangestad explained that 3M was “putting our

best estimate together of what we think” the “probable” liability would be. (Defs’ Ex. 21

at 8.) And the July disclosure of 3M’s continued search for PFAS in Alabama tracked 3M’s

repeated disclosures that it was “continuing to make progress in its work, under the

supervision of state regulators, to address its historic disposal of [PFAS]‐containing waste

associated with manufacturing operations in Decatur, Alabama.” (Defs’ Ex. 3 at 116 (2016

Form 10‐K); Defs’ Ex. 8 at 121 (2017 Form 10‐K); Defs’ Ex. 16 at 114 (2107 Form 10‐K).)

       5. Safe Harbor

       3M also places the Complaint’s allegations in the protection of the PSLRA’s safe

harbor. This provision of the statute protects defendants from liability when they have

made forward‐looking statements that are (1) accompanied by meaningful cautionary

language, (2) immaterial, or (3) made without actual knowledge that the statements were

false or misleading. Julianello v. K‐V Pharm. Co., 791 F.3d 915, 920–21 (8th Cir. 2015) (citing

15 U.S.C. § 78u–5(c)(1)). Defendants contend that their alleged misstatements were

forward‐looking and accompanied by meaningful cautionary language, and that the

Complaint does not plead facts showing Defendants had actual knowledge that the

statements were false or misleading.




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       When considering whether a statement is forward‐looking, “the determinative

factor is not the tense of the statement; instead, the key is whether its truth or falsity is

discernible only after it is made.” Id. at 921 (quotation marks and citation omitted).

Forward‐looking statements include statements “containing a projection of . . . financial

items,” statements “of future economic performance, including any such statement

contained in a discussion and analysis of financial condition by the management,” and

statements “of the assumptions underlying or relating to [the forward looking]

statements.” 15 U.S.C. § 78u‐5(i). Defendants’ statements about the extent of 3M’s

potential liability in pending PFAS‐related litigation and the impact from future charges

on 3M’s financial position are forward‐looking, as their truth or falsity were discernible

only after Defendants made them. See generally TCF Banking & Sav., F.A. v. Arthur Young

& Co., 706 F. Supp. 1408, 1412 (D. Minn. 1988) (“The establishment of a bad debt reserve

involves economic forecasting, not the reporting of known facts.”).

       Plaintiffs assert that certain statements were not forward‐looking because they

included historical financial facts when made. The safe harbor does not protect

statements of past or present facts, or a combination of “false or misleading statements

about past or present facts with forward‐looking statements.” In re CenturyLink Sales

Pracs. & Sec. Litig., 403 F. Supp. 3d 712, 729 (D. Minn. 2019) (citing In re Quality Sys., Inc.

Sec. Litig., 865 F.3d 1130, 1142 (9th Cir. 2017).) Plaintiffs point to 3M’s statements that its

accruals for “other environmental liabilities” were “based upon an evaluation of



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currently available facts.” (Compl. ¶¶ 153, 159, 162, 165, 169, 176, 182, 186.) But like

reserves, accruals are estimates of liabilities an entity will pay in the future. See In re

Acceptance Ins. Cos. Sec. Litig., 423 F.3d 899, 902 (8th Cir. 2005) (explaining reserves are

estimates of liabilities and expenses a company will pay in the future). And Gangestad’s

statement that “we looked at all the discussions going on in all of the sites, all the litigation

and putting our best estimate together of what we think all of those costs will be,” refers

to Defendants’ prediction of costs relating to future litigation outcomes. (Compl. ¶ 196

(emphasis added).)

       The Court also finds that the Complaint lacks facts showing that the Defendants

had actual knowledge of falsity. As a result, the alleged forward‐looking statements are

not actionable. In re Gander Mountain Co. Sec. Litig., No. 05‐CV‐183 (DWF/AJB), 2006 WL

140670, at *13 (D. Minn. Jan. 17, 2006). The Court thus need not reach the issue as to

whether Defendants accompanied their statements with meaningful cautionary

language. Id.

       For the reasons above, the Court finds that the Complaint fails to plead the

existence of any facts or further particularities showing that Defendants had access to, or

knowledge of, information contradicting their public statements when they were made,

and thus fails to satisfy the heightened PSLRA pleading requirement.




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       B. Scienter

       In addition to meeting the requisite misstatement standard, Plaintiffs must meet

the PSLRA’s scienter requirement. The Complaint must allege with particularity facts

supporting a “strong inference” that Defendants acted with the requisite scienter. Ferris,

395 F.3d at 854 (citations omitted). Scienter is “the intent to deceive, manipulate, or

defraud,” Navarre, 299 F.3d at 741, and “requires a showing of reckless or intentional

wrongdoing.” Podraza v. Whiting, 790 F.3d 828, 836 (8th Cir. 2015) (citation and quotation

marks omitted).

       1. Allegations of Scienter

       Plaintiffs can establish scienter from: (1) allegations of “motive and opportunity”

to defraud; (2) facts showing “a mental state embracing an intent to deceive, manipulate

or defraud”; or (3) conduct that rises to “severe recklessness.”20 Podraza, 790 F.3d at 836

(citation omitted). In determining whether alleged facts support a “strong inference of

scienter,” the court must consider inferences favoring the plaintiff as well as plausible,


20As noted above, the Complaint does not specifically allege GAAP violations. Even if it
had, allegations of GAAP violations, standing alone, cannot raise a strong inference of
scienter. Podraza, 790 F.3d at 838. “Only where these allegations are coupled with
evidence of corresponding fraudulent intent might they be sufficient.” Ferris, 395 F.3d at
855 (citation omitted); see In re MoneyGram Intʹl, Inc. Sec. Litig., 626 F. Supp. 2d 947, 981
(D. Minn. 2009) (explaining that false Sarbanes‐Oxley Act certifications “are probative of
scienter only if they are accompanied by ‘allegations of particular facts demonstrating
how the defendants knew of the scheme at the time they made their statements of
compliance, that they knew the financial statements overrepresented the companyʹs true
earnings, or that they were aware of a GAAP violation and disregarded it.’”) (citation
omitted).


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nonculpable explanations for the defendantʹs conduct. Tellabs, 551 U.S. at 323, 324. An

inference of scienter must be “more than merely ‘reasonable’ or ‘permissible’—it must be

cogent and compelling, thus strong in light of other explanations.” Id. at 324. The court

takes the factual allegations as true, and, assessing them collectively, determines whether

a reasonable person would find “the inference of scienter at least as strong as any

opposing inference.” Id. at 326. Courts have found a strong inference of scienter when the

defendants knew or had access to information suggesting that their public statements

were materially inaccurate. Navarre, 299 F.3d at 746 (citing Green Tree, 270 F.3d at 665).

       Defendants argue that the Complaint blocks each of the avenues to scienter

because it: (1) fails to plead motive to defraud, (2) fails to plead intent to defraud, and

(3) fails the standard for severely reckless conduct. (Defs’ Br. at 34–41.)

              a. Motive to Defraud

       Plaintiffs allege that the Individual Defendants’ trading activity was suspicious,

suggesting a motive to commit fraud. (Compl. ¶¶ 228–35; Pls’ Br. at 50–54); see In re

Medtronic Inc., Sec. Litig., 618 F. Supp. 2d 1016, 1038 (D. Minn. 2009) (“[T]he suspicious

timing of stock sales can create an inference of scienter.”), affʹd sub nom. Detroit Gen. Ret.

Sys. v. Medtronic, Inc., 621 F.3d 800 (8th Cir. 2010). Although insider trading is “not

inherently suspicious,” it becomes so “when the level of trading is dramatically out of

line with prior trading practices at times calculated to maximize the personal benefit from

undisclosed inside information.” Navarre, 299 F.3d at 747 (quotation marks and citations



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omitted). Plaintiffs must allege more than that the Individual Defendants benefitted from

trading because of a false or misleading statement; to give rise to the requisite inference

of scienter, “the insider trades have to be ‘unusual,’ either in the amount of profit made,

the amount of stock traded, the portion of stockholdings sold, or the number of insiders

involved.” Id. (quoting Green Tree, 270 F.3d at 659). The possibility of an innocent

explanation for the timing of a defendant’s stock sale “is not enough to defeat the

inference of scienter that arises from plaintiffs’ well‐pleaded allegations.” In re EVCI Colls

Holding Corp. Sec. Litig., 469 F. Supp. 2d 88, 100 (S.D.N.Y. 2006).

       The Complaint fails to allege facts that show unusual insider trading. Plaintiffs

assert that the amount of the Individual Defendants’ stock sales was unusual because

Thulin and Gangestad earned significantly more proceeds during the Class Period than

they did in the two years before it.21 (Compl. ¶ 229.) But proceeds are not necessarily

profits; the Complaint fails to allege that any of the Individual Defendants made an

unusual “amount of profit” during the Class Period. Navarre, 299 F.3d at 747.

       Nor does the Complaint claim an unusual “portion of stockholdings sold” by the

Individual Defendants. Id. This is no surprise, as each of the Individual Defendants sold




21The Complaint alleges that Thulin earned $36.5 million in proceeds from 3M stock sales
during the Class Period, as compared with the $7.7 million in proceeds he earned in 2015
and 2016. (Compl. ¶ 230.) Gangestad allegedly earned more than $2.8 million in proceeds
form 3M stock sales during the Class Period, as compared with the $238,727 in proceeds
earned in 2015 and 2016. (Id.) The Complaint is silent about Roman’s pre‐Class Period
sales.


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only a small fraction of their 3M stock during the Class Period. (Defs’ Ann. B (Gangestad

sold 5.27%; Roman sold 1.72%; Thulin sold 10.85%)); see Navarre, 299 F.3d at 747 (holding

that the sale of 10% and 32% of an insider’s stock interest, standing alone, failed to meet

the strong‐inference‐of‐scienter standard). “[W]here a corporate insider sells only a small

fraction of his or her shares in the corporation, the inference of scienter is weakened.” In

re Oxford Health Plans, Inc., 187 F.R.D. 133, 140 (S.D.N.Y. 1999). Indeed, all of the

Individual Defendants increased their 3M holdings during the Class Period. (See Defs’

Ann. A (Gangestad increased 113.56%; Roman increased 89.05%; Thulin increased

20.50%).) That the Individual Defendants increased their holdings during this time

weakens the allegation of suspicious insider trading.22 Medtronic, 618 F. Supp. 2d at 1037;

see Cornelia I. Crowell GST Tr. v. Possis Med., Inc., 519 F.3d 778, 783 (8th Cir. 2008) (affirming

district court’s finding that plaintiffs failed to establish scienter where “several of the

insider’s holdings actually increased” during the class period); In re Ceridian Corp. Sec.

Litig., 542 F.3d 240, 247 (8th Cir. 2008) (agreeing with the district court that allegations of




22Courts are also to consider “the number of insiders involved” in determining whether
stock sales were unusual. Navarre, 299 F.3d at 747 (citation omitted). The Complaint
alleges that “other senior Company executives” sold 3M stock during the Class Period,
but does not attribute any alleged misstatement to them. (Compl. ¶ 228; id. Appx. E.) The
Court finds these executives’ stock sales to be irrelevant to show the Individual
Defendants acted with the requisite scienter. See Navarre, 299 F.3d at 748 (“[T]rading must
coincide with false or misleading statements—a missing link in this case.”); Plevy v.
Haggerty, 38 F. Supp. 2d 816, 834 n. 12 (C.D. Cal. 1998) (finding that transactions by
unnamed insiders were irrelevant to alleging scienter against the named defendants).


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motive did not support a strong inference of scienter where insiders “increased their total

share holdings during the class period”).

       Plaintiffs assert that the timing of the Individual Defendants’ stock sales is unusual

because the Individual Defendants sold “a significant number of shares” in the weeks

before 3M announced the AG Litigation settlement. (Pls’ Br. at 51; Compl. ¶¶ 230–34.)

“Trades made a short time before a negative public announcement are suspiciously

timed.” Oxford Health, 187 F.R.D. at 139 (finding that the timing of trades “‘suspicious’

enough, along with the other evidence, to support a strong inference of scienter”). The

Complaint alleges that Thulin sold around $15 million of shares on January 31, Gangestad

sold $419,000 of shares on February 1, and $1.02 million of shares on February 2, and

Roman sold over $1 million of shares on February 2. (Id. ¶ 228, 231–32.) But these sales

were a small fraction of the Individual Defendants’ holdings at the time. (See Defs’ Ann. B

(Gangestad sold 1.63% of his holdings, and Roman sold 2.94% of his holdings, in

Feb. 2018; Thulin sold 5.61% of his holdings in Jan. 2018).) And the Individual Defendants

made these sales “in connection with the exercise of [] option[s],” which “are not

suspicious.” Medtronic, 618 F. Supp. 2d at 1038; (e.g., Defs’ Ex. 41 at 2 n.1 (Form 4 reporting

Roman’s Feb. 2018 sale—his only sale during the Class Period—was “the exercise of a 3M

stock option by means of a cashless‐sell‐to‐cover method (selling enough shares to cover

option share purchase price, fees and taxes, then retaining remaining shares)”).

Gangestad’s and Thulin’s pre‐settlement sales tracked their routine of exercising options.



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(See Defs’ Exs. 34, 40, 44 (Form 4s showing Gangestad’s stock sales on Feb. 13, 2017,

Feb. 1, 2018, and Feb. 7, 2019, respectively); Defs’ Exs. 39, 42, 43, 46 (Form 4s showing

Thulin’s stock sales on Jan. 31, 2018, Jan. 30, 2019, Jan. 31, 2019, and Mar. 29, 2019,

respectively).)

       Even if the Court considered the timing of the Individual Defendants’ stock sales

to be suspicious, “such timing is insufficient to establish a strong inference of scienter in

the absence of any other information indicating unusual insider trading.” Medtronic Inc.,

618 F. Supp. 2d at 1038.

              b. Intent to Deceive, Manipulate, or Defraud

       When a complaint does not show motive and opportunity, other allegations

tending to show scienter must be “particularly strong” to meet the PSLRA standard.

Green Tree, 270 F.3d at 660. Plaintiffs contend that the Complaint alleges facts showing a

“mental state embracing an intent to deceive, manipulate, or defraud.” (Pls’ Br. at 41–49.)

They claim that (1) 3M’s internal documents and PFAS‐related litigation, (2) the

statements by Roman and Gangestad, and (3) the AG Litigation settlement establish

Defendants’ knowledge. None of these arguments is persuasive.

       Internal 3M Documents and Lawsuits. The Complaint alleges that internal 3M

documents from the 1950s to the late 1990s show that 3M knew that PFAS was toxic, non‐

biodegradable, accumulating in the bodies of animals and its employees, and emanating

from its plants to nearby water sources. (Compl. ¶¶ 41–56.) Given these facts, Defendants



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allegedly knew that PFAS created massive environmental, human health, and other

negative consequences. (Id. ¶ 63.) In 1998, 3M released scientific data to the EPA, and in

2018, the Minnesota Attorney General posted internal documents showing that 3M had

been aware of the dangers of PFAS since the 1970s. (Id. ¶¶ 58, 115.) Plaintiffs assert that

“Defendants’ awareness of 3M’s probable PFAS‐related liability grew as more lawsuits

were filed” and significant litigation‐related developments occurred. (Pls’ Br. at 43–44

(citing Compl. ¶¶ 89–91, 99).) They also contend that news reports notified Defendants

of “3M’s probable liability related to its manufacture, distribution, and disposal of PFAS.”

(Pls’ Br. at 44 (emphasis added, citing Compl. ¶¶ 70, 72–73, 81).)

       While these factual allegations support the assertion that 3M’s additional PFAS‐

related liability was reasonably possible (rather than probable), 3M disclosed its PFAS‐

related contingencies in its financial statements. See ASC 450‐20‐50‐4 (requiring

disclosure of reasonably possible losses). But Plaintiffs claim that the Defendants misled

investors by understating 3M’s PFAS‐related liability, and the Complaint points to

nothing in these internal documents, lawsuits, or news reports that conflict with 3M’s

statements about its inability to reasonably estimate the amount of its future PFAS‐

related liability.

       Individual Defendants’ Statements. Plaintiffs argue that statements made by Roman

and Gangestad establish scienter because they touched on specific issues in their public




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statements.23 (Pls’ Br. at 46); Roberti v. OSI Sys., Inc., No. CV 13‐9174‐MWF VBKX, 2015

WL 1985562, at *12 (C.D. Cal. Feb. 27, 2015) (“By making detailed factual statements,

contradicting important data to which the Individual Defendants had access, a strong

inference arises that they knowingly misled the public as to its clear meaning.”)

(quotation omitted, cleaned up). They point to Roman’s statements that the AG Litigation

settlement was “a unique situation,” and “something we’ve been working on with them

for a number of years,” and that 3M “establish[ed] reserves that help us resolve the

litigation that is related to environmental matters.” (Compl. ¶¶ 119, 124.) They also cite

Gangestad’s statement that the PFAS‐related liability for the five manufacturing sites was

“ring‐fenced.” (Id. ¶ 137.) But these statements do not contradict important information

to which Roman or Gangestad had access at the time about the probability or estimates

of additional PFAS‐related liability, nor do the statements admit that they were aware of

such information earlier. Roberti, 2015 WL 1985562, at *12; cf. In re Urb. Outfitters, Inc. Sec.

Litig., 103 F. Supp. 3d 635, 653 (E.D. Pa. 2015) (finding that omitting actual circumstances

that contradicted defendants’ answers to specific analyst questions about pricing and

sales trends presented “an obvious risk of misleading investors”).

       The AG Litigation Settlement. Plaintiffs argue that the size of the AG Litigation

settlement and its proximity to the disclosures in 3M’s 2017 Form 10‐K support a strong


23Plaintiffs assert that even if Roman and Gangestad were not knowledgeable about the
matters on which they spoke, they were actionably reckless making such statements. (Pls’
Br. at 47 n.31.)


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inference of scienter. (Pls’ Br. at 47.) The 2017 Form 10‐K accrued $25 million for PFAS‐

related liabilities as of December 31, 2017. (Compl. ¶ 109.) 3M announced the $850 million

settlement within two weeks after filing the Form 10‐K. (Id. ¶ 106.) The “sheer size” of a

several hundred‐million‐dollar write down can add to the inference that “the defendants

must have been aware the problem was brewing.” Green Tree, 270 F.3d at 666. But here,

Defendants disclosed the AG Litigation, including (1) the expert opinion estimating

damages at $5 billion, (2) that trial was to begin in February, (3) that the court had urged

the parties to resolve the litigation before trial, and (4) that 3M recorded no liability for

litigation because it believed such liability was not probable or reasonably estimable.

(Defs’ Ex. 8 at 124); see Luna, 2016 WL 5930655, at *8 (“[A]ny inference that defendants

intended to deceive investors is negated by [the company’s] full disclosure of the . . .

judgment and the companyʹs decision not accrue a reserve.”). 3M’s summary judgment

motion was still pending, which if granted, would have reduced 3M’s liability to zero.

       The Complaint does not allege specific facts suggesting that when 3M filed its 2017

Form 10‐K, Defendants knew that the AG Litigation would likely settle and what that

settlement amount (or range of amounts) would be. Plaintiffs argue that “it would be

absurd to suggest that Defendants were not aware of the probability that [3M] would

incur significant [PFAS‐related] liability,” (Pls’ Br. at 49), but they do not allege specific

facts suggesting that such liability was probable, that is, had “at least a 70% chance of

occurrence.” (Defs’ Ann. D at 3.) Nor do they allege that Defendants were aware of, and



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did not disclose, information from which they could reasonably estimate the PFAS‐

related liability beyond what 3M had disclosed.

       Moreover, Defendants’ scienter is contradicted: in response to the SEC’s request

that 3M explain why it accrued nothing for the AG Litigation before settlement, 3M

offered the SEC a thorough explanation of its decision. See Podraza, 790 F.3d at 838 & n.4

(inferring nonfraudulent intent where Defendants offered and stood by a thorough

explanation made to the SEC).

       Accepting all factual allegations as true and considering the Complaint as a whole,

the Court finds that the Complaint does not allege facts showing a mental state embracing

an intent to deceive, manipulate, or defraud.

              c. Reckless Conduct

       Recklessness     conduct     involves        “highly   unreasonable     omissions     or

misrepresentations that involve . . . an extreme departure from the standards of ordinary

care, and that present a danger of misleading buyers or sellers which is either known to

the defendant or is so obvious that the defendant must have been aware of it.” Green Tree,

270 F.3d at 654 (citations omitted). Simple or even inexcusable negligence does not suffice.

Id.

       Plaintiffs argue that because Defendants knew the requirements of ASC 450—that

accrual is required for probable and reasonably estimable losses—their failure to timely

accrue more for PFAS‐related liabilities was “at least reckless.” (Pls’ Br. at 49–50.) It points



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to 3M’s increase of reserves from $28 million for PFAS‐related liabilities in February 2018

(just before the AG Litigation settled) to $235 million in April 2019, as probative of

scienter. (Id. at 50 (citing Compl. ¶¶ 109, 122, 126).) In support, Plaintiffs cite case law in

which the complaints alleged scienter is based on several GAAP violations. (Id. (citing

Freudenberg v. E*Trade Fin. Corp., 712 F. Supp. 2d 171, 200 n.10 (S.D.N.Y. 2010).) But the

Complaint does not allege any GAAP violations, and thus does not plead a violation of

GAAP “with sufficient particularity to provide independent evidence of scienter.” In re

Countrywide Fin. Corp. Derivative Litig., 554 F. Supp. 2d 1044, 1070 (C.D. Cal. 2008). And

3M’s accruals for PFAS‐related liabilities “were not sufficiently troublesome as to raise

problems with [3M’s] independent auditors.” Id.; see Podraza, 790 F.3d at 838 (“The

inference of scienter is contradicted by the fact that . . . [the company’s] independent

auditor[] stated [the company’s] financial documents complied with GAAP.”).

       Because the Complaint does not satisfy the PSLRAʹs heightened standard for

pleading scienter, the Court grants Defendants’ motion to dismiss Count I of the

Complaint.24

       2. “Core Operations” Theory.

       Plaintiffs allege that the fraud relates to the “core business and operations of 3M

such that knowledge may be imputed to Defendants.” (Compl. ¶ 227.) Under the core




24Because the Court finds that Plaintiffs fail to sufficiently allege false or misleading
representations and scienter, it does not address Plaintiffs’ allegations of loss causation.


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operations theory, “misstatements and omissions made on ‘core matters of central

importance’ to the company and its high‐level executives give[] rise to an inference of

scienter when taken together with additional allegations connecting the executives’

positions to their knowledge.” Urb. Outfitters, 103 F. Supp. 3d at 653–54 (citation omitted);

CenturyLink, 403 F. Supp. 3d at 731 (“At the motion to dismiss stage, it is reasonable to

assume that top management were aware of matters central to that business’s

operation.”) (quotation marks and citation omitted). The Eighth Circuit has not yet

decided whether plaintiffs can use the core operations theory to plead scienter. See Elam,

544 F.3d at 929 (noting the Fifth and Ninth Circuits have rejected the core operations

theory); (Pls’ Br. at 42 & n.24 (acknowledging same)).

       To attribute knowledge to the Individual Defendants under the core operations

theory, Plaintiffs must show that the relevant information “was known within the

company at that time.” Elam, 544 F.3d at 929. The Complaint alleges the Individual

Defendants “would have been aware of key facts related to [3M’s] operations and major

litigations,” and “the issues associated with 3M’s PFAS‐related liabilities” because of

their positions as CEO and CFO. (Compl. ¶ 218.) Even if the Court assumes the Individual

Defendants were aware of matters central to 3M’s operation, for the reasons above, the

Complaint does not sufficiently allege that Defendants knew crucial information

contradicting its statements that it was unable to provide a reasonable estimate for

additional PFAS‐related contingent liabilities when they made the statements. Plaintiffs’



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speculation that “this information must have existed and must have been known . . . is

plainly insufficient to support an inference of scienter.” Elam, 544 F.3d at 930.

       II.    Section 20(a) Claim

       Because Plaintiffs fail to state a claim for securities fraud, there can be no secondary

liability against the Individual Defendants as “controlling persons.” Parnes v. Gateway

2000, Inc., 122 F.3d 539, 550 n.12 (8th Cir. 1997) (affirming dismissal of controlling person

liability claims, including § 20(a) claims, where plaintiffs presented no actionable claim

for violating §§ 11, 12(2), 10(b), or Rule 10b–5). The Section 20(a) claim against the

Individual Defendants is therefore dismissed.

                                      CONCLUSION

       Based on the foregoing and on all the files, records, and proceedings herein, the

Defendants’ Motion to Dismiss (ECF No. 89) is GRANTED. The Complaint is

DISMISSED.

LET JUDGMENT BE ENTERED ACCORDINGLY.




Dated: September 30, 2021                          BY THE COURT:

                                                   s/Nancy E. Brasel
                                                   Nancy E. Brasel
                                                   United States District Judge




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